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                                                                                                                                            CLERK U.S. BANKRUPTCY COURT
                                                                                                                                            Central District of California
                                                                   6    [Proposed] Counsel to Bradley D. Sharp, Chapter 11                  BY francis DEPUTY CLERK
                                                                        Trustee
                                                                   7
                                                                   8                                 UNITED STATES BANKRUPTCY COURT

                                                                   9                                 CENTRAL DISTRICT OF CALIFORNIA

                                                                  10                                        LOS ANGELES DIVISION

                                                                  11    In re:                                              Case No.: 2:23-bk-10990-SK
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12    LESLIE KLEIN,
                                                                                                                            Chapter 11
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                    Debtor.
                                           ATTORNEYS AT LAW




                                                                                                                            ORDER APPROVING CHAPTER 11
                                                                  14                                                        TRUSTEE’S APPLICATION TO (A)
                                                                                                                            EMPLOY DESERT SANDS REALTY
                                                                  15                                                        AND COLDWELL BANKER REALTY
                                                                                                                            AS REAL ESTATE BROKERS AND (B)
                                                                  16                                                        ENTER INTO EXCLUSIVE LISTING
                                                                                                                            AGREEMENT
                                                                  17
                                                                                                                            [2560 N. Whitewater Club Drive, Unit B,
                                                                  18                                                        Palm Springs, California 92262]

                                                                  19                                                        [Relates to Docket Nos. 238 and 239]

                                                                  20                                                        [No Hearing Required]

                                                                  21
                                                                  22             This Court, having considered the application (the “Application”) of Bradley D. Sharp, the

                                                                  23   duly appointed, authorized and acting chapter 11 trustee (the “Trustee”) in the above-captioned

                                                                  24   bankruptcy case of Leslie Klein (the “Debtor”), to (a) employ Desert Sands Realty and Coldwell

                                                                  25   Banker Realty as real estate brokers (together, the “Brokers”) and (b) enter into exclusive listing

                                                                  26   agreement, and the statements of disinterestedness of Steve Enlow and William Friedman filed in

                                                                  27   support thereof, and the Court finding that due and sufficient notice of the Application has been

                                                                  28   given, and based upon the record before the Court, it appears that the Brokers do not hold or


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                                                                   1   represent an interest adverse to the Debtor or the estate (the “Estate”), that the Brokers are

                                                                   2   “disinterested”, that their employment is in the best interest of the Estate, there being no objections

                                                                   3   to or requests for hearing on the Application, and that no hearing on the Application is required

                                                                   4   pursuant to the Local Bankruptcy Rules, it is hereby:

                                                                   5           ORDERED that the Chapter 11 Trustee is authorized to (a) employ Desert Sands Realty

                                                                   6   and Coldwell Banker Realty as real estate brokers and (b) enter into the exclusive listing agreement

                                                                   7   attached as Exhibit 1 to the Application, on the terms and conditions set forth therein; and

                                                                   8           ORDERED that Desert Sands Realty and Coldwell Banker Realty shall be entitled to

                                                                   9   receive compensation in accordance with the terms of the listing agreement and shall not be

                                                                  10   required to file further application to the Court with respect to same.

                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




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                                        LOS ANGELES, CALIFORNIA




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                                           ATTORNEYS AT LAW




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                                                                         Date: August 22, 2023
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